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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 18-cr-80160-DIMITROULEAS

   UNITED STATES OF AMERICA

   v.

   CLAUDIA PATRICIA DIAZ GUILLEN,

          Defendant.
                                                           /

                           NOTICE OF RELATED CRIMINAL CASE


          The United States of America, by and through the undersigned Assistant United States

   Attorneys and Trial Attorney, hereby file this notice of related criminal cases pursuant to United

   States District Court for the Southern District of Florida Local Rule 3.8.

          As the Local Rules impose an ongoing duty on the attorneys of record to bring to the

   court’s attention the existence of related actions, S.D. Fla. L.R. 3.8, the undersigned attorneys

   provide notice to the Court of two related criminal actions both presided over by Judge Robin

   L. Rosenberg. The two matters are: 1) United States v Alejandro Andrade Cedeno, 17-cr-

   80242-Rosenberg; and 2) United States v. Gabriel Arturo Jimenez Aray, 18-cr-80054-

   Rosenberg. Judge Rosenberg presided over both cases from filing of information through

   sentencing. Those two cases involve the same criminal activity as this criminal case.

         Respectfully submitted,

         JOSEPH S. BEEMSTERBOER                        JUAN ANTONIO GONZALEZ
         ACTING CHIEF, FRAUD SECTION                   UNITED STATES ATTORNEY

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